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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )             8:04CR511
                     Plaintiff,                    )
                                                   )
       vs.                                         )              ORDER
                                                   )
JAMEL A. PAYNE and                                 )
DEJUAN J. LEONARD,                                 )
                                                   )
                     Defendants.                   )


       This matter is before the court on the motion to continue trial by defendant Jamel A.
Payne (Payne) (Filing No. 84). Payne seeks a continuance of the trial for sixty days. Counsel
for the government and counsel for co-defendant Leonard have no objection to the motion.
Upon consideration, the motion will be granted to the extent set forth below.


       IT IS ORDERED:
       1.     Payne's motion to continue trial (Filing No. 84) is granted.
       2.     Trial of this matter is scheduled for July 5, 2005, before Chief Judge Joseph
F. Bataillon and a jury. The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendants in a speedy trial. The additional time
arising as a result of the granting of the motion, i.e., the time between May 18, 2005 and July
5, 2005, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason that defendants' counsel require additional time to
adequately prepare the case. The failure to grant additional time might result in a miscarriage
of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 18th day of May, 2005.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
